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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND

                                                                :
SARAH MAE TILLERY                                               :
(aka) SARAH MAE SWANN,                                          :
                                                                :   No. 8:18-cv-03256-PX
                          PLAINTIFF,                            :
        V.                                                      :
                                                                :
U.S. DEPARTMENT OF EDUCATION, et al,                            :
                                                                :
                          DEFENDANT.                            :
                                                                :

             JOINT STATEMENT CONCERNING REMOVAL OF DEFENDANTS
              NAVIENT SOLUTIONS, LLC, ALLIED INTERSTATE, LLC, AND
                     NORTH CAROLINA A&T STATE UNIVERSITY


        Pursuant to the Court’s October 23, 2018 Standing Order Concerning Removal

(“Standing Order”) (Dkt. No. 3), Defendants Navient Solutions, LLC (“NSL”), incorrectly

identified as “Navient Identity & Forgery Investigations” and “Sallie Mae”, Allied Interstate,

LLC (“Allied”), and North Carolina A&T State University (“NCA&T”), (collectively,

“Defendants”), by their undersigned counsel, state as follows:

        1.       Defendants responds to Paragraph 1 of the Standing Order as follows:

                 (a)      NSL received a copy of the Complaint on September 20, 2018, however,

NSL contends it was not properly served with process in the State Court Action. 1 Despite this


1
         The Complaint was mailed to a post office box in Wilkes Barre, Pennsylvania. Although the Maryland
Rules of Court allow service by mail, it must be effectuated by “mailing to the person to be served a copy of the
summons, complaint, and all other papers filed with it by certified mail requesting: “Restricted Delivery – show to
whom, date address of delivery.” Md. R. 2-121(a). Here, there is no indication that Plaintiff’s mailing to a post
office box in Wilkes Barre, Pennsylvania was effectuated by Restricted Delivery. In addition, nothing in the
Maryland Rules of Court contemplates service under Rule 2-121(a) by delivery to a post office box. Rather, under
Rule 2-124(d), a limited liability company such as NSL must be served through delivery of process upon a resident
agent, or absent such an agent, “upon any member or other person expressly or impliedly authorized to receive
service of process.” Md. R. 2-124(g). Delivery on a post office box in Wilkes Barre, Pennsylvania is not delivery
upon a resident agent or other authorized person for NSL.



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service defect, NSL nevertheless chose to remove the case within 30 days of its receipt of the

Complaint.

               (b)     There are no returns of service or affidavits of service on the docket in the

State Court Action.

               (c)     Allied, NCA&T, and ARS also received a copy of the Complaint. Allied,

NCA&T and Asset each consented to removal. Allied and NCA&T contend, however, that they

have not been properly joined or served in this lawsuit.

       2.      Defendants respond to Paragraph 2 of the Standing Order as follows: NSL

removed the case based on federal question jurisdiction. In addition, diversity jurisdiction exists.

Plaintiff filed an Addendum to the Complaint that removed Defendant Sarah Henley as a party

to the case. For purposes of diversity jurisdiction, NSL is a resident of Virginia, Allied is a

resident of Ohio, NCA&T is a resident of North Carolina, and Asset is a resident of Illinois.

Because Sarah Henley, the only Maryland resident defendant, was removed from the case,

complete diversity jurisdiction exists.

       3.      Paragraph 3 of the Standing Order is not applicable.

       4.      Paragraph 4 of the Standing Order is not applicable.

       5.      Paragraph 5 of the Standing Order is not applicable.




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                               Respectfully submitted,

                               /s/ Michelle H. Badolato
                               Eric M. Hurwitz, Esquire
                               Michelle H. Badolato, Esquire

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                               mbadolato@stradley.com
                               Attorneys for Defendant Navient Solutions, LLC,
                               incorrectly identified as “Navient Identity & Forgery
                               Investigations” and “Sallie Mae”

Date: November 2, 2018


                               /s/ Brent Gary
                               Brent Gary, Esquire
                               Reed Smith LLP
                               7900 Tysons One Place, Suite 500
                               McLean, Virginia 22102
                               Attorneys for Defendant Allied Interstate LLC

Date: November 2, 2018
                               /s/ Stanley J. Reed
                               Stanley J. Reed, Esquire
                               Lerch, Early & Brewer, Chtd.
                               7600 Wisconsin Ave, Suite 700
                               Bethesda, MD 20814
                               Attorney for Defendant
                               North Carolina A&T State University

Date: November 2, 2018




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                               CERTIFICATE OF SERVICE

       I, hereby certify that on November 2, 2018, I electronically filed the foregoing Statement

Concerning Removal with the Clerk of the Court using the CM/ECF system, and that a Notice of

Electronic Filing was subsequently served upon:

                                     Brent Gary, Esquire
                                       Reed Smith LLP
                              7900 Tysons One Place, Suite 500
                                   McLean, Virginia 22102
                              Attorneys for Allied Interstate LLC


and that I served the foregoing via first class mail upon the following non-CM/ECF participants:

                           Sarah Mae Tillery a/k/a Sarah Mae Swann
                                     5505 Lansing Drive
                                  Temple Hills, MD 20748

                                     Sarah Lanise Henley
                                 8162 Washington Blvd., #439
                                   Jessup, Maryland 20794

                                  US Department of Education
                                  Office of Inspector General
                                  400 Maryland Avenue, S.W.
                                    Washington DC 20202

                               Asset Recovery Solutions, LLC
                                  c/o Justin M. Penn, Esq.
                                 Hinshaw & Culbertson LLP
                             151 North Franklin Street, Suite 2500
                                     Chicago, IL 60606

                             North Carolina A&T State University
                                 c/o Stanley J. Reed, Esquire
                                Lerch, Early & Brewer, Chtd.
                               7600 Wisconsin Ave, Suite 700
                                     Bethesda, MD 20814


                                                    /s/ Michelle H. Badolato
                                                    Michelle H. Badolato




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